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Pro Se I (Rev. 12/16) Complaint for a Civil Case

PagelD #: 1

UNITED STATES DISTRICT COURT

Southern

Southern Division

Case No. TMeew a (09-D6- N

(to be filled in by the Clerk’s Office)

Fredrika M Miller, Gary L Sauer

 

Plaintif{(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-Y=

Coastline Management, Beachcomber Homeowners
Association Inc. lic.

 

Defendant(s)
(Write the full name of each defendant who is being sued. if the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

for the
District of Alabama [-|

 

Jury Trial: (check one) [] Yes [_]No

Nem See ene Sere Nee nee ee See Nee Nee ee ne ee” ee ee”

COMPLAINT FOR A CIVIL CASE

L The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

The Defendant(s)

Fredrika M Miller, Gary L Sauer

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100 Commerce st Apt A

 

City of Jackson, Clarke County
Alabama 36542
702 601 3681, 702 324 3277

 

bootsmylove69@gmail.com, creativly7@gmail.com

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (jfknown). Attach additional pages if needed.

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Defendant No. 1

Name Coastline Management

 

Job or Title (if known)

 

 

 

 

Street Address 253 Professional Lane

City and County City of Gulf Shores Baldwin County
State and Zip Code Alabama 36542

Telephone Number (251) 948-7001

 

E-mail Address (if known) fd@coastlinemgmt.com

 

Defendant No. 2

Name Beachcomber Homeowners Association Inc. Ilc

Job or Title (if known)

 

 

 

 

Street Address PO Box 2652

City and County City of Gulf Shores, Baldwin County —
State and Zip Code Alabama 36547

Telephone Number (251) 948-7001

 

E-mail Address (if known) Kathyg@coastlinemgmt.com

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (if known)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

i.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the

parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties

is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question [| Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.

Title 18, US Code Chapter 96 Racketeer Influenced and Corrupt Organizations
Title 18, US Code Chapter 31 Embezzlement and Theft

Alabama Code § 13A-6-191 Criminal Elder Abuse

B. If the Basis for Jurisdiction Is Diversity of Citizenship

1. The Plaintifi(s)

 

 

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)

b. If the plaintiff is a corporation
The plaintiff, (same) , 1s incorporated

 

under the laws of the State of (name)

 

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the

same information for each additional plaintiff)

 

 

2. The Defendant(s)
a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name} . Oris a citizen of
(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) Coastline Mgmt, Beachcomber HOA llc _ > #8 incorporated under
the laws of the State of (name) alabama , and has its

 

principal place of business in the State of (name) Alabama

Or is incorporated under the laws of (foreign nation) ;

 

and has its principal place of business in (name) City Of Gulf Shores

(if more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

$1,000,000

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
Coastline Management and Beachcomber HOA did deliberately and with prejudice create a situation physically
and financially where it was impossible for Fredrika M. Miller and her mother Ozell Miller co-owners of the
property located at 105 E. 4th St. Unit 106 Gulf Shores, Alabama 36542 to stay in their property and had to leave
it in fear for their well being. They were systematically coerced, threatened and forced out of their property by the
Defendants. They charged fees, created bi-laws designed specifically to allow a coordinated effort to take the
property away from and force the Plaintiffs to leave using local law enforcement, city and county officials. The
Defendants had personal problems with the Plaintiffs and spent much time there fighting with and causing

if.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

The Plaintiff would like the property returned to her immediately. The Plaintiff would like a formal apology issued
by the Defendants and their employees and officers. The Plaintiff would like all documentation, meeting minutes,
notes and memos relating to the property. The amount of one million dollars in damages

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result

 

 

in the dismissal of my case.

Date of signing: 02/10/2021

Signature of Plaintiff ( wie (i We hK {ho ‘
Printed Name of Plaintiff | [IUIT O(LLILAA spy. FILLE

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm
Street Address
State and Zip Code

 

 

 

Telephone Number
E-mail Address

 

 

Dana K nf &
